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IN THE UNITED STATES DISTRICT COURT OF THE DISTRICT OF COLUMBIA

 

DISTRICT OF COLUMBIA.
Plaintiff(s),
v.
PROUD BOYS INTERNATIONAL, LLC

Defendants.

 

 

1:21-CV-03267-APM

MOTION FOR LEAVE
TO WITHDRAW APPEARANCE OF COUNSEL

Pursuant to LCvR 83.6, Undersigned counsel moves for leave to withdraw as Counsel for Mr.

Kelly Meggs and Mrs. Connie Meggs, and sets forth as follows:

1. Undersigned counsel first appeared in this case on February 15, 2022 in filing a Consent

Motion for an Extension of Time. (ECF 71).

2. Undersigned counsel filed a Motion to Dismiss on March 11, 2022. (ECF 86).

3. Undersigned filed a subsequent Motion to Dismiss the Amended Complaint on June 17,
2022 (ECF 110) and Reply Memorandum in Support thereof on September 16, 2022,

(ECF 156), which has yet to be ruled on.

4. At this time, no Answer is due.
5. No Trial Date has been scheduled.

6. Discovery has not begun.

7. Undersigned counsel has discussed the need to withdraw with both Connie and Kelly
Meggs, who consent. Mr. Meggs is currently detained and not accessible since he is now
in Pennsylvania, but I attach a signed consent form by his son, who retains a power of

attorney and signed by Connie Meggs.

8. I certify I have mailed a copy of this motion to where Mr. Kelly Meggs is detained,
at USP Lewisburg at 2400 ROBERT F. MILLER DRIVE, LEWISBURG, PA
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LI837.

9. I further certify that I sent a copy of this Motion to Withdraw to Mr. Meggs’ and
Mrs. Meggs son by email, and a copy by regular mail to Mrs. Meggs home address
that I shall not disclose on this public record.

10. Undersigned counsel is closing her practice and taking on new employment, and is
unable to maintain both.

11. It is respectfully requested that the Court grant the motion for leave to withdraw as
counsel for Mr. Kelly Meggs and Mrs. Connie Meggs.

Dated: March 31, 2023 Respectfully submitted,

/s/ Juli Z. Haller
Juli Z. Haller, (DC 466921)
THE LAW OFFICES OF JULIA HALLER
601 Pennsylvania Avenue, N.W.,
S. Building, Suite 900
Washington, DC 20004
202-729-2201 (telephone)
HallerJulia@outlook.com

 

Counsel for Defendants Kelly and Connie Meggs

I hereby consent to the withdrawal of attorney, Ms. Juli Haller, from this case as stated above.
We will seek to find new counsel, and if we cannot, we shall notify the court promptly that we
will proceed pro se to the extent necessary:

Date March 31, 2023

 

Connie Meggs

 

 

Zack Meggs as’Power of Attorney for Kelly Meggs
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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,
Criminal No. 1:21-cr-00028-APM
Vv.

CONNIE MEGGS,

Defendant.

Nee eee eS

 

CERTIFICATE OF ELECTRONIC SERVICE
I hereby certify that on March 31, 2023 I electronically filed the foregoing with the Clerk

of Court using the CM/ECF System, with consequent service on all parties of record.

/s/ Juli Z. Haller
Juli Z. Haller, (DC 466921)
THE LAW OFFICES OF JULIA HALLER
601 Pennsylvania Avenue, N.W.,
S. Building, Suite 900
Washington, DC 20004
202-729-2201 (telephone)
HallerJulia@outlook.com

 

Co-Counsel for Defendant Connie Meggs
